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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK, et al.,

              Plaintiffs,

              v.                                    Civil Action No. 1:25-cv-39 (JJM)

 DONALD TRUMP, IN HIS OFFICIAL
 CAPACITY AS PRESIDENT OF THE
 UNITED STATES, et al.,

                            Defendants.

                       DEFENDANTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States

 Court of Appeals for the First Circuit from this Court’s preliminary injunction, as set

 forth in the Memorandum and Order dated March 6, 2025 and docketed at ECF

 No. 161.



 Dated: March 10, 2025                    Respectfully submitted,

                                          YAAKOV M. ROTH
                                          Acting Assistant Attorney General

                                          ALEXANDER K. HAAS
                                          Director

                                          /s/ Daniel Schwei
                                          DANIEL SCHWEI
                                          Special Counsel (N.Y. Bar)
                                          ANDREW F. FREIDAH
                                          EITAN R. SIRKOVICH
                                          Trial Attorneys
                                          United States Department of Justice
                                          Civil Division, Federal Programs Branch



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                                    8051



                                   1100 L Street NW
                                   Washington, DC 20530
                                   Tel.: (202) 305-8693
                                   Fax: (202) 616-8460
                                   Email: daniel.s.schwei@usdoj.gov

                                   Counsel for Defendants




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                         CERTIFICATION OF SERVICE

        I hereby certify that on March 10, 2025, I electronically filed the within
 Certification with the Clerk of the United States District Court for the District of
 Rhode Island using the CM/ECF System, thereby serving it on all registered users in
 accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.



                                               /s/ Daniel Schwei
                                               Daniel Schwei




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